      Case 4:20-cv-05640-YGR           Document 1318         Filed 03/06/25      Page 1 of 3




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                OAKLAND DIVISION


   EPIC GAMES, INC.,                                   Case No. 4:20-cv-05640-YGR-TSH
                Plaintiff, Counter-defendant,
                     v.
   APPLE INC.,                                         RESPONSE TO APPLE’S OBJECTIONS
                    Defendant, Counterclaimant.        TO SPECIAL MASTER RULINGS ON
                                                       APPLE INC.’S PRODUCTIONS OF RE-
                                                       REVIEWED PRIVILEGED
                                                       DOCUMENTS


The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
         Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-
 Review Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following
 short response to Apple’s Objections to the Special Masters’ rulings (“Objections”), filed
 on March 4, 2025. (Dkt. 1301.) Epic does not have access to the underlying documents
 and is therefore unable to fully assess the bases on which Apple claims privilege; Epic
 responds to Apple’s Objections on the limited information provided in Apple’s privilege
 logs for the documents.
  ●    Entry Nos. 10781 (PRIV-APL-EG_00255272), 10886 (PRIV-APL-EG_00256631),
       and 10904 (PRIV-APL-EG 00256780)—Apple claims in its Objections that these
       documents are three iterations of the same email chain between non-lawyers and in
       house counsel Kyle Andeer. Apple seeks to withhold the email chain in its entirety
       because the whole discussion is supposedly “related to the original legal advice from
       in-house counsel”. (Dkt. 1301 at 2.) But the original email is from a non-lawyer
       apparently forwarding a publicly available article, and the ensuing discussion, by
       Apple’s own account, is about business employees’ ideas about business options for
       Apple to allow alternative payment solutions. The fact that lawyers were copied on or
       participated in the discussion is irrelevant; the point is that the discussion is primarily
       about Apple’s business options under a new regulatory regime. Indeed, decks
       discussing Apple’s post-Injunction business considerations were a focal point of the
       recent evidentiary hearing before Judge Gonzalez Rogers. And here, the reviewing
       Special Master carefully parsed through the document and concluded that while Mr.
       Andeer’s email reflected legal advice, the ensuing discussion was “predominantly
    Case 4:20-cv-05640-YGR          Document 1318         Filed 03/06/25      Page 2 of 3




     business/PR” and thus not entitled to privilege. Nothing in Apple’s Objections
     suggests this was error.
●    Entry No. 12136 (PRIV-APL-EG_00272830)—Apple maintains that this document is
     an email exchange between in-house counsel Jennifer Brown and outside counsel
     regarding edits to a slide deck created by Analysis Group. (Dkt. 1301, at 3.) Apple
     claims that this email exchange should be redacted because the “language contains
     feedback from Apple attorneys and reflects substantive choices, based on legal
     implications, about what to include in the slide deck”. Id. In its Objections, Apple
     suggests the email is privileged, and Apple cites a case addressing privilege in support.
     But Apple’s privilege log does not claim that the document is privileged; it only
     claims work product. Both the privilege log and Apple’s Objections fail to provide
     any details on how the redacted text—but not any other portion of the email or the
     deck—reflects something “prepared in anticipation or furtherance of litigation”. (See
     id.; Entry No. 12136.) Apple’s objection is therefore unavailing and should be
     overruled.
●    Entry No. 7905 (PRIV-APL-EG_00228712)—Apple represents that this document is
     an email from Marni Goldberg, a director of communications, to three in-house
     counsel “expressly asking for counsel to review and provide input on draft responses
     for a press briefing.” (Dkt. 1301 at 4.) Apple claims the document is both privileged
     and work product. As an initial matter, Apple does not even attempt to explain how
     this draft public-facing communications document, written by a non-lawyer, was
     “prepared in anticipation or furtherance of litigation” as claimed in its privilege log
     entry. (Entry No. 7905.) The question of privilege is a closer call and depends on
     whether the document (or its cover email) did in fact seek legal advice. The Special
     Master determined that it did not, yet Apple claims that it did. Without access to the
     underlying document, Epic cannot assess Apple’s objection on the basis of privilege.
●    Entry No. 6755 (PRIV-APL-EG_00216707)—This document is an email from Sean
     Cameron, Apple in-house counsel, to Phil Schiller, a non-legal business executive,
     copying sixteen business executives and lawyers (including Mr. Oliver, Mr. Fischer,
     Mr. Cue, Mr. Joswiak, Mr. Sainz, Mr. Kosmynka and Ms. Thai, and attorneys Lew,
     Andeer and McNamara) reportedly addressing revisions to the App Store Guidelines
     in light of Apple’s response to the Digital Markets Act. Apple seeks to withhold this
     document in its entirety on the basis that “[t]he entire chain is related to the original
     provision of legal advice”. (Dkt. 1301, at 5.) But many, if not most, of the
     participants in this email chain are non-legal business professionals, and Apple fails to
     explain why the document must be withheld in its entirety; to the extent legal advice is
     sought and conveyed, such communications should be narrowly redacted and the
     document produced accordingly.
●    Entry No. 85 (PRIV-APL-EG 00118829) and Entry No. 184 (PRIV-APL-
     EG 00119866)—Apple claims that both these documents contain discussions among
     non-lawyers that disclose legal advice from lawyers who are not themselves
     participating in the discussion. The Special Masters reviewed these documents and
     concluded that they do not disclose legal advice. Without access to the documents,
     Epic is unable to assess Apple’s objection.
    Case 4:20-cv-05640-YGR         Document 1318         Filed 03/06/25     Page 3 of 3




●    Entry No. 535 (PRIV-APL-EG 00125518)—Apple claims this document is an email
     thread containing legal analysis and work product from in-house counsel assessing the
     amicus briefs in this case. The top email is from one communications professional to
     another. Apple claims that the proposed redactions “consist entirely of ‘legal opinions
     and communications made to the client to keep the client informed of legal
     developments’”. (Dkt. 1301 at 8.) The Special Master reviewed the underlying text
     and determined it does not disclose legal advice. Without access to the documents,
     Epic is unable to assess Apple’s objection.



DATED: March 6, 2025                             CRAVATH, SWAINE & MOORE LLP
                                                 By: /s/ Yonatan Even
                                                 Counsel for Plaintiff Epic Games, Inc.
